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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


UNITED STATES OF AMERICA                         §
                                                 §     CRIMINAL NO. W-99-CR-070(1)-ADA
v.                                               §
                                                 §              * CAPITAL CASE *
CHRISTOPHER ANDRE VIALVA                         §


                                             ORDER

       In June 2000, Defendant Christopher Vialva was convicted under federal law of capital

murder and sentenced to death. The district court’s Judgment dated June 16, 2000 (ECF No.

289) authorized the Department of Justice (DOJ)—including the Attorney General, the Federal

Bureau of Prisons and the United States Marshals Service—to determine the time, place, and

manner of Vialva’s execution and to carry out that execution. As explained in the other Order

filed today, this Court does not believe another order is required to empower DOJ with this

authority, nor does the Court believe that a stay is presently in effect as a result of the original

Judgment. Nevertheless, out of an abundance of caution, the Court issues this Order to lift any

theoretical stay and confirm DOJ’s authority to select Vialva’s execution date and implement his

sentence of death.

       Accordingly, to the extent there is presently a stay of execution in place, this Court

hereby ORDERS that the stay and abeyance is LIFTED.

       Furthermore, in accordance with 28 C.F.R. § 26.2, the Court ORDERS:

       (1)     The sentence of death, set forth in the Court’s June 2000 Judgment (ECF No.

289), shall be executed by a United States Marshal designated by the Director of the United

States Marshals Service;



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       (2)      The sentence shall be executed by intravenous injection of a lethal substance or

substances in a quantity sufficient to cause death;

       (3)      The sentence shall be executed on a date and at a place designated by the Director

of the Federal Bureau of Prisons, namely, September 24, 2020, at the Federal Correctional

Complex, Terre Haute, Indiana, or such other time and place as he may later designate; and

       (4)      The prisoner under sentence of death shall be committed to the custody of the

Attorney General or his authorized representative for appropriate detention pending execution of

the sentence.

       Finally, nothing in this Order shall be deemed to prevent a court of competent jurisdiction

from issuing a stay or injunction of the execution if that court deems such a stay to be necessary

and appropriate. Nor does this Order prevent the President of the United States from granting

clemency to the defendant.

       It is so ORDERED.

SIGNED this 11th day of September, 2020.




                                      ALAN D ALBRIGHT
                                      UNITED STATES DISTRICT JUDGE




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